8:02-cr-00266-LSC-TDT      Doc # 228     Filed: 02/05/09    Page 1 of 1 - Page ID # 1218


                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:02CR266
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                    ORDER
                                            )
EDUARDO OROSCO-FRANCO,                      )
                                            )
             Defendant.                     )

      This matter is before the Court on the government’s motion to dismiss (Filing No.

227). Pursuant to Federal Rule of Criminal Procedure 48(a), leave of court is granted for

the dismissal of the Indictment without prejudice against the above-named Defendant.

      IT IS ORDERED:

      1.     The government’s motion to dismiss (Filing No. 227) is granted; and

      2.     The Indictment is dismissed without prejudice against the above-named

             Defendant.

      DATED this 5th day of February, 2009.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
